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             ORAL ARGUMENT SET FOR JANUARY 9, 2024

                                 No. 23-3228

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,
                                           Appellee,
                                      v.

DONALD J. TRUMP,
                                        Defendant-Appellant.
                          ______________________

                On Appeal from the United States District Court
                        for the District of Columbia


             OPENING BRIEF OF DEFENDANT-APPELLANT
                   PRESIDENT DONALD J. TRUMP

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     CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

A.     PARTIES AND AMICI CURIAE

       The parties in the district court include the United States of America and

President Donald J. Trump. The district court denied leave to file to proposed amici

curiae. The parties before this Court include the United States of America and

President Donald J. Trump.

       Amici Curiae before this Court include, for Appellee:

Donald B. Ayer; John B. Bellinger, III; Barbara Comstock; John C. Danforth;

Mickey Edwards; Charles Fried; Stuart M. Gerson, Esquire; John Giraudo; Peter D.

Keisler; Edward J. Larson; J. Michael Luttig; Carter G. Phillips; Alan Charles Raul,

Attorney; Paul Rosenzweig; Nicholas Rostow; Robert B. Shanks; Christopher

Shays; Michael Shepherd; Larry Thompson; Stanley Twardy; Christine Todd

Whitman; Wendell Willkie, II; Keith E. Whittington; Richard Bernstein

       Disclosure Statement: No Disclosure Statement under Federal Rule of

Appellate Procedure 26.1 or under Circuit Rule 26.1 is necessary, as Defendant is

not a corporation or similar entity.

B.     RULINGS UNDER REVIEW

       The parties are before this Court on appeal from the December 1, 2023,

Memorandum Opinion and Order of the district court issued by Hon. Tanya S.




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Chutkan, D.Ct. Doc. Nos. 171, 172, in United States v. Trump, No. 1:23-cr-00257

(TSC), -- F. Supp. 3d --, 2023 WL 8359833 (D.D.C. Dec. 1, 2023), J.A.599, 647.

C.      RELATED CASES

        The following cases are related cases within the meaning of D.C. Circuit Rule

28(a)(1)(C):

     • Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-7031 (consol.), -- F.4th--,

        2023 WL 8291481 (D.C. Cir. Dec. 1, 2023) (appeal involving President

        Trump and the United States as amicus curiae addressing Presidential

        immunity for certain related alleged conduct in the civil context)

     • United States v. Trump, No. 23-3190, -- F.4th --, 2023 WL 8517991 (D.C. Cir.

        Dec. 8, 2023) (interlocutory appeal in this case challenging the district court’s

        entry of an unconstitutional gag order on President Trump’s extrajudicial

        statements)

                                                                      /s/ D. John Sauer




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                                           GLOSSARY

criminal immunity…………………….absolute presidential immunity from
                          criminal prosecution for official acts

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President Trump………………………Appellant President Donald J. Trump

the government………………………..Appellee United States of America




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                                INTRODUCTION

      During the 234 years from 1789 to 2023, no current or former President had

ever been criminally prosecuted for official acts. That unbroken tradition died this

year, and the historical fallout is tremendous. The indictment of President Trump

threatens to launch cycles of recrimination and politically motivated prosecution that

will plague our Nation for many decades to come and stands likely to shatter the

very bedrock of our Republic—the confidence of American citizens in an

independent judicial system.

      Under our system of separated powers, the Judicial Branch cannot sit in

judgment over a President’s official acts. That doctrine is not controversial. It was

treated as self-evident and foundational from the dawn of the Republic, and it flows

directly from the exclusive vesting clause of Article II. In 1803, Chief Justice

Marshall endorsed it, writing in Marbury v. Madison that a President’s official acts

“can never be examinable by the courts.”

      The structure of our government, the text of the Constitution and its early

commentators, common-law immunity doctrines, our political history, the Supreme

Court’s analogous immunity doctrines, and the policy considerations rooted in the

separation of powers all dictate that no President, current or former, may be

criminally prosecuted for his official acts unless he is first impeached and convicted

by the Senate. Nor may a President face criminal prosecution based on conduct for

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which he was acquitted by the U.S. Senate. The indictment against President Trump

is unlawful and unconstitutional. It must be dismissed.

                        STATEMENT OF JURISDICTION

       The district court exercised subject-matter jurisdiction over the underlying

federal criminal case under 18 U.S.C. § 3231. The district court denied President

Trump’s claims of Presidential immunity and double jeopardy by opinion and order

dated December 1, 2023. J.A.599, 647. President Trump filed a timely notice of

appeal on December 7, 2023. J.A.648.

       The district court’s decision constitutes a “final decision” under 28 U.S.C.

§ 1291 and the collateral-order doctrine. See Cohen v. Beneficial Indus. Loan Corp.,

337 U.S. 541, 546-47 (1949); Nixon v. Fitzgerald, 457 U.S. 731, 743 (1982). The

denial of presidential immunity “is an immediately appealable collateral order.”

Wuterich v. Murtha, 562 F.3d 375, 381–82 (D.C. Cir. 2009) (citing cases). So is the

denial of President Trump’s double-jeopardy claim. Abney v. United States, 431 U.S.

651, 659 (1977).

                          STATEMENT OF THE ISSUES

I.     Whether the President has immunity from criminal prosecution for official

acts, i.e., those that fall within the “outer perimeter” of his official responsibilities;




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II.   Whether the Impeachment Judgment Clause, U.S. CONST. art. I, § 3, cl. 7, and

principles of Double Jeopardy prevent the prosecution of a President who has been

impeached and acquitted by the Senate for the same or closely related conduct.

                         STATEMENT OF THE CASE

I.    Allegations in the Indictment.

      On August 1, 2023, President Trump was indicted on four counts based on

allegations regarding his efforts to dispute the outcome of the widely questioned

2020 presidential election. J.A.24. The indictment charges President Trump with

acts of political speech and advocacy in disputing the election’s outcome after the

campaign ended, performed while President Trump was still in office. Id. The

indictment alleges five types of conduct, all of which constitute quintessential

Presidential acts:

      First, it alleges that President Trump made a series of tweets and other public

statements about the outcome of the 2020 federal election, contending that the

election was tainted by fraud and irregularities. J.A.24, 29-32, 34, 39-44, 59-62

(public statements); J.A.36-37, 43-44, 55-56, 58-59, 63 (tweets).

      Second, the indictment alleges that President Trump communicated with the

Acting Attorney General and officials at the U.S. Department of Justice about

investigating election crimes and possibly appointing a new Acting Attorney

General. J.A.29, 37-38, 40, 43-44, 50-54.

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      Third, the indictment alleges that President Trump communicated with state

officials about the administration of the federal election and urged them to exercise

their official responsibilities in accordance with extensive information that the

election was tainted by fraud and irregularities. J.A.28, 33-43.

      Fourth, the indictment alleges that President Trump communicated with the

Vice President, in his legislative capacity as President of the Senate, and attempted

to communicate with other members of Congress in order to urge them to exercise

their official duties with respect to the certification of the federal election according

to President Trump’s view of the national interest. J.A.29, 55-60, 63-65.

      Fifth, the indictment alleges that other individuals organized slates of alternate

electors from seven States to provide a justification for the Vice President to exercise

his official duties in the manner urged by President Trump. J.A.44-50.

II.   Trial Court Proceedings.

      On October 5, 2023, President Trump filed a motion to dismiss the indictment

on grounds of Presidential immunity. J.A.331. He argued that presidential immunity

extends to immunity from criminal prosecution for a President’s official acts, i.e.,

those performed within the “outer perimeter” of the President’s official

responsibility. J.A.344-57. He argued that all five classes of conduct alleged in the

indictment fall within the outer perimeter of the President’s official responsibility.

J.A.357-81.

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      On October 23, 2023, President Trump filed a motion to dismiss on

constitutional grounds. J.A.437. As relevant here, President Trump argued that the

Impeachment Judgment Clause, U.S. CONST. art. I, § 3, cl.7, and principles of

Double Jeopardy foreclose the prosecution because President Trump was impeached

and acquitted for the same and closely related conduct. J.A.454-60.

      On December 1, 2023, the district court issued its Memorandum Opinion and

Order. J.A.599, 647. First, the district court wrongfully held that a former President

has no immunity from prosecution for official acts performed while in office.

J.A.604-29. The court did not address whether any of the conduct alleged in the

indictment falls within the scope of the President’s official duties. J.A.628. The

district court also incorrectly held that “neither traditional double jeopardy principles

nor the Impeachment Judgment Clause” prevent the prosecution of a President who

has been impeached and acquitted by the Senate. J.A.636-42.

                           SUMMARY OF ARGUMENT

I.    President Trump has absolute immunity from prosecution for his official acts

as President. The indictment alleges only official acts, so it must be dismissed.

      A. Seven considerations mandate the recognition of presidential immunity

from prosecution for official acts. First, criminal immunity has deep roots in the

separation of powers. Under Article II, § 1, the President is vested with the

Executive Power. The Judicial Branch may not sit in judgment, criminal or

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otherwise, over his exercise of that power. As Chief Justice Marshall wrote in

Marbury v. Madison, the President’s official acts “can never be examinable by the

courts.” 5 U.S. (1 Cranch) 137, 165-66 (1803).

      Second, the text of the Constitution, through the Impeachment Judgment

Clause, presupposes criminal immunity. That Clause dictates that a President may

be criminally charged only if he is the “Party convicted” in an impeachment trial.

U.S. CONST. art. I, § 3, cl. 7. Alexander Hamilton reinforced this understanding by

writing in The Federalist that the President may face criminal prosecution only

“afterwards” or “subsequent” to impeachment and Senate conviction. President

Trump was acquitted, not convicted, by the Senate after an impeachment, so he

retains immunity for his official acts.

      Third, early commentators on the Constitution—including Chief Justice

Marshall, George Washington’s Attorney General Charles Lee, Alexander Hamilton,

Justice Joseph Story, and others—confirm that a President’s official acts are not

examinable by the Judicial Branch.

      Fourth, at common law, immunity from criminal prosecution was far more

central to the concept of immunity than immunity from civil liability. The prospect

of senior officials facing “criminal charges” before a “possibly hostile judiciary” was

the “chief fear” that official immunity was designed to prevent. United States v.

Johnson, 383 U.S. 169, 180-82 (1966).

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      Fifth, the 234-year tradition of not prosecuting Presidents for official acts—

despite ample motive and opportunity to do so—provides powerful evidence that the

power to do so does not exist. “Perhaps the most telling indication of a severe

constitutional problem” with this “wholly unprecedented” prosecution “is a lack of

historical precedent to support it.” Seila Law, LLC v. CFPB, 140 S. Ct. 2183, 2201

(2020) (cleaned up).

      Sixth, analogous immunity doctrines for legislators and judges, which are also

rooted in the separation of powers, support criminal immunity for a President’s

official acts. Legislative immunity “prevent[s]” legislative acts “from being made

the basis of a criminal charge against a member of Congress.” Johnson, 383 U.S. at

180. Excluding cases of bribery, which were long prosecutable at common law,

judicial immunity shields a judge from “indictment for any act done … by him,

sitting as judge.” Spalding v. Vilas, 161 U.S. 483, 494 (1896). Presidents’ official

acts are equally, if not more so, immune.

      Seventh, policy considerations rooted in the separation of powers support

immunity. The President handles “especially sensitive duties,” Fitzgerald, 457 U.S.

at 746. The Presidency requires “bold and unhesitating action.” Id. at 745. The

threat of future prosecution risks “crippl[ing] the proper and effective administration

of public affairs.” Id. at 745 (quoting Spalding, 161 U.S. at 498). The President is

most likely to be “harassed by vexatious actions.” Spalding, 161 U.S. at 495. The

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threat of indictment, conviction, and imprisonment by a politically motivated

successor—or by hundreds of local prosecutors, many in enclaves of political

hostility to the President—before a possibly hostile judiciary poses a far greater

deterrent to bold, fearless Executive leadership than civil liability.

      B. Given the existence of criminal immunity, the scope of immunity should

extend to the “‘outer perimeter’ of [the President’s] official responsibility.”

Fitzgerald, 457 U.S. at 756. Applying these principles, all five types of conduct

alleged in the indictment fall within the outer perimeter of President Trump’s official

duties.

II.   In addition, the Impeachment Judgment Clause, U.S. CONST. art. I, § 3, cl. 7,

mandates reversal because it incorporates a Double Jeopardy principle: A President

who is acquitted by the Senate cannot be prosecuted for the acquitted conduct. The

Clause’s plain meaning, its historical context, and the decisive weight of authority

from key commentators all confirm that a single unelected prosecutor lacks authority

to second-guess the judgment of the U.S. Congress.

                             STANDARD OF REVIEW

      Both issues in this appeal present pure questions of law that are “subject to de

novo review.” CAIR v. Ballenger, 444 F.3d 659, 664 (D.C. Cir. 2006); see also

Blassingame v. Trump, 87 F.4th 1, 12 (D.C. Cir. 2023).




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                                   ARGUMENT

I.    The Prosecution of President Trump Is Barred by Presidential Immunity.

      A.     Presidential Immunity Includes            Immunity     from    Criminal
             Prosecution for Official Acts.

      “In view of the special nature of the President’s constitutional office and

functions,” a current or former President has “absolute Presidential immunity from

[civil] damages liability for acts within the ‘outer perimeter’ of his official

responsibility.” Fitzgerald, 457 U.S. at 756 (quoting Barr v. Matteo, 360 U.S. 564,

575 (1959)). In addressing whether this extends to immunity from prosecution, this

Court should examine the Constitution’s text, structure, and original meaning; the

common law; historical practice; the Supreme Court’s precedents and immunity

doctrines; and considerations of public policy. See id. at 747. All these authorities

point in the same direction—the President has absolute immunity from criminal

prosecution “for acts within the ‘outer perimeter’ of his official responsibility.” Id.

at 756.

             1.     The separation of powers requires criminal immunity.

      First, as emphasized in Fitzgerald, the doctrine of presidential immunity is

“rooted in the separation of powers under the Constitution.” 457 U.S. at 753. “The

President occupies a unique position in the constitutional scheme,” and the

President’s “absolute immunity … predicated on his official acts” constitutes “a

functionally mandated incident of the President’s unique office, rooted in the
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constitutional tradition of the separation of powers and supported by our history.”

Id. at 732, 749.

      Under the doctrine of separated powers, neither a federal nor a state

prosecutor, nor a state or federal court, may sit in judgment over a President’s official

acts, which are vested in the Presidency alone. U.S. CONST. art. II, § 1. “Article II,

§ 1, of the Constitution provides that ‘[t]he executive Power shall be vested in a

President of the United States.’ This grant of authority establishes the President as

the chief constitutional officer of the Executive Branch, entrusted with supervisory

and policy responsibilities of utmost discretion and sensitivity.” Fitzgerald, 457

U.S. at 749-50 (alterations omitted). “The President’s unique status under the

Constitution distinguishes him from other executive officials.” Id. at 750.

      The immunity of the President’s official acts from judicial second-guessing

has been treated as self-evident and foundational from the dawn of the Republic.

Chief Justice Marshall emphasized in Marbury v. Madison that “[b]y the constitution

of the United States, the President is invested with certain important political powers,

in the exercise of which he is to use his own discretion, and is accountable only to

his country in his political character, and to his own conscience.” 5 U.S. (1 Cranch)

at 165–66. “The acts of such an officer, as an officer, can never be examinable by

the courts.” Id. (emphasis added).




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       Justice Story agreed, citing Marbury for the proposition that the Judicial

Branch lacks authority to sit in judgment over the President’s official acts: “In the

exercise of his political powers he is to use his own discretion, and is accountable

only to his country, and to his own conscience. His decision, in relation to these

powers, is subject to no control; and his discretion, when exercised, is conclusive.”

3 J. STORY, COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES ch. 37, §

1563      (1833),      https://lonang.com/library/reference/story-commentaries-us-

constitution/sto-337/. “When the President exercises an authority confided to him

by law,” his official conduct cannot “be passed upon by a jury” or “upon the proofs

submitted to a jury.” Martin v. Mott, 25 U.S. (12 Wheat.) 19, 32-33 (1827) (Story,

J.); cf. Tenney v. Brandhove, 341 U.S. 367, 377 (1951).

       Thus, the Judicial Branch cannot “require [the President] to exercise the

‘executive Power’ in a judicially prescribed fashion.” Franklin v. Massachusetts,

505 U.S. 788, 826 (1992) (Scalia, J., concurring in part and concurring in the

judgment). “An attempt on the part of the judicial department of the government to

enforce the performance of such duties by the President might be justly

characterized, in the language of Chief Justice Marshall, as ‘an absurd and excessive

extravagance.’” Mississippi v. Johnson, 71 U.S. 475, 499 (1866) (quoting Marbury,

5 U.S. at 170); Marbury, 5 U.S. at 170 (“Questions … which are, by the constitution

and laws, submitted to the executive, can never be made in this court.”) (emphasis

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added); see also Chi. & S. Air Lines v. Waterman S.S. Corp., 333 U.S. 103, 112

(1948) (“[W]hatever of this order emanates from the President is not susceptible of

review by the Judicial Department.”). “The Congress is the legislative department

of the government; the President is the executive department. Neither can be

restrained in its action by the judicial department.” Mississippi, 71 U.S. at 500.

“[T]his court has no jurisdiction of a bill to enjoin the President in the performance

of his official duties.” Id. “It is incompatible with his constitutional position that

[the President] be compelled personally to defend his executive actions before a

court.” Franklin, 505 U.S. at 827 (Scalia, J., concurring in part and concurring in

the judgment). The same principles foreclose a criminal prosecution of a President

“based upon his official acts.” Fitzgerald, 457 U.S. at 744.

             2.    The Impeachment Judgment Clause presupposes immunity.

      Second, the text of the Constitution presupposes the President’s criminal

immunity. The Impeachment Judgment Clause provides that “Judgment in Cases of

Impeachment shall not extend further than to removal from Office … but the Party

convicted shall nevertheless be liable and subject to Indictment, Trial, Judgment and

Punishment, according to Law.” U.S. CONST. art. I, § 3, cl. 7 (emphasis added).

Because the Constitution specifies that only “the Party convicted” by trial in the

Senate may be “liable and subject to Indictment, Trial, Judgment and Punishment,”

id., it presupposes that a President who is not convicted may not be subject to

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criminal prosecution. ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE

INTERPRETATION OF LEGAL TEXTS 107 (2012) (“When a car dealer promises a low

financing rate to ‘purchasers with good credit,’ it is entirely clear that the rate is not

available to purchasers with spotty credit.”).

         As Justice Alito recently noted, “[t]he plain implication” of this Clause “is that

criminal prosecution, like removal from the Presidency and disqualification from

other offices, is a consequence that can come about only after the Senate’s judgment,

not during or prior to the Senate trial.” Trump v. Vance, 140 S. Ct. 2412, 2444 (2020)

(Alito, J., dissenting).     “This was how Hamilton explained the impeachment

provisions in the Federalist Papers. He wrote that a President may ‘be impeached,

tried, and, upon conviction ... would afterwards be liable to prosecution and

punishment in the ordinary course of law.’” Id. (quoting THE FEDERALIST No. 69

(C. Rossiter ed. 1961)); see also THE FEDERALIST No. 77 (Hamilton) (a President is

“at all times liable to impeachment, trial, [and] dismission from office,” but any other

punishment must come only “by subsequent prosecution in the common course of

law”).

         Thus, the Supreme Court has often stated that impeachment, not criminal

prosecution, provides the principal check against a President for malfeasance in his

official duties. “[T]he President … ‘is amenable to [the laws] in his private character

as a citizen, and in his public character by impeachment.’” Clinton v. Jones, 520

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U.S. 681, 696 (1997) (quoting James Wilson in 2 J. ELLIOT, DEBATES ON THE

FEDERAL CONSTITUTION 480 (2d ed. 1863)) (cleaned up). “With respect to acts taken

in his ‘public character’—that is, official acts—the President may be disciplined

principally by impeachment … . But he is otherwise subject to the laws for his purely

private acts.” Id. “A rule of absolute immunity for the President will not leave the

Nation without sufficient protection against misconduct on the part of the Chief

Executive. There remains the constitutional remedy of impeachment.” Fitzgerald,

457 U.S. at 757; see also Brett M. Kavanaugh, The President and the Independent

Counsel, 86 GEO. L.J. 2133, 2158 (1998) (“The Framers thus appeared to anticipate

that a President who commits serious wrongdoing should be impeached by the

House and removed from office by the Senate—and then prosecuted thereafter.”).

      The district court disputed this interpretation of the Clause. J.A.606-11, 638-

42. Those arguments are addressed in Part II, infra.

             3.    Early constitutional authorities confirm immunity.

      Early authorities confirm the doctrine of criminal immunity for official acts.

Alexander Hamilton wrote that the criminal prosecution of a President for official

acts may occur only after impeachment and conviction by the Senate: “The President

of the United States would be liable to be impeached, tried, and, upon conviction of

treason, bribery, or other high crimes or misdemeanors, removed from office; and

would afterwards be liable to prosecution and punishment in the ordinary course of

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law.” THE FEDERALIST NO. 69; see also THE FEDERALIST NO. 77 (stating that the

President is subject to “subsequent prosecution” after “impeachment, trial, [and]

dismission from office”) (emphases added); Vance, 140 S. Ct. at 2444 (Alito, J.,

dissenting) (“This was how Hamilton explained the impeachment provisions in the

Federalist Papers.”).

      Likewise, in Marbury, Attorney General Charles Lee “declare[d] … that the

President is not amenable to any court of judicature for the exercise of his high

functions, but is responsible only in the mode pointed out in the constitution,” i.e.,

impeachment. 5 U.S. at 149. Chief Justice Marshall agreed: “By the constitution of

the United States, the President is invested with certain important political powers,

in the exercise of which he is to use his own discretion, and is accountable only to

his country in his political character, and to his own conscience.” Id. at 165–66.

When the President “act[s] in cases in which the executive possesses a constitutional

or legal discretion, nothing can be more perfectly clear than that [his] acts are only

politically examinable.” Id. at 166. “The acts of such an officer, as an officer, can

never be examinable by the courts.” Id. (emphasis added).

      As noted above, Justice Story reinforced this conclusion, both in his

Commentaries and in Martin v. Mott.




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             4.     The common law supports criminal immunity.

      Fitzgerald emphasized that the Court’s “immunity decisions have been

informed by the common law.” 457 U.S. at 747. At common law, official immunity

to secure the independence of senior officials meant, first and foremost, immunity

from criminal prosecution. Immunity from civil liability was of secondary concern.

      The Supreme Court’s Speech and Debate cases make this clear. At common

law, “the privilege” of legislative immunity “was not born primarily of a desire to

avoid private suits …, but rather to prevent intimidation by the executive and

accountability before a possibly hostile judiciary.” Johnson, 383 U.S. at 180–81.

Preventing “the instigation of criminal charges against critical or disfavored

legislators” was the “chief fear” that led to the recognition of legislative immunity.

Id. at 182 (emphasis added). Johnson emphasized that immunity was intended to

protect the legislature from a potentially hostile executive and judiciary, and thus it

transplanted naturally “in the context of the American system of separation of

powers.” Id. So also, protection of the Presidency from political factions and a

potentially hostile judiciary is both reflected in the common law and “rooted in the

constitutional tradition of the separation of powers.” Fitzgerald, 457 U.S. at 749.

For this reason, in regards of immunity doctrines rooted in separation of powers,

civil immunity without criminal immunity is “like a lock without a key, a bat without




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a ball, a computer without a keyboard—in other words, not especially sensible.”

Coinbase, Inc. v. Bielski, 599 U.S. 736, 743 (2023).

             5.     Criminal immunity draws support from 234 years of history.

      Fitzgerald also consulted the “presuppositions of our political history.” 457

U.S. at 745, 749. From 1789 to 2023, no President was ever prosecuted for his

official acts, despite centuries of motive and opportunity to do so. The 234-year

tradition of not prosecuting Presidents for official acts strongly supports the

existence of immunity. American history abounds with examples of Presidents who

were accused by political opponents of committing crimes through their official acts.

These include, among many others, John Quincy Adams’ alleged “corrupt bargain”

in appointing Henry Clay as Secretary of State;1 President George W. Bush’s

allegedly false claim to Congress that Saddam Hussein possessed stockpiles of

“weapons of mass destruction,” which led to war in which thousands were killed;2

and President Obama’s alleged authorization of a drone strike that targeted and killed

a U.S. citizen abroad (and his teenage son, also a U.S. citizen).3



1
  See, e.g., Jessie Kratz, The 1824 Presidential Election and the “Corrupt Bargain”,
National               Archives              (Oct.             22,            2020),
https://prologue.blogs.archives.gov/2020/10/22/the-1824-presidential-election-and-
the-corrupt-bargain/.
2
  See, e.g., Gary L. Gregg II, George W. Bush: Foreign Affairs, UVA Miller Center,
https://millercenter.org/president/-gwbush/foreign-affairs.
3
  See, e.g., Spencer Ackerman, US Cited Controversial Law in Decision to Kill
American Citizen by Drone, The Guardian (June 23, 2014),
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      In each such case, the President’s political opponents vehemently accused that

President of criminal behavior in his official acts. In each case, those outraged

political opponents eventually came to power. Yet no President was ever prosecuted,

until this year. The unbroken tradition of not exercising the supposed formidable

power of criminally prosecuting a President for official acts—despite ample motive

and opportunity to do so, over centuries—implies that the power does not exist. See,

e.g., NFIB v. OSHA, 595 U.S. 109, 119 (2022) (per curiam) (“This ‘lack of historical

precedent,’ coupled with the breadth of authority that the [Special Counsel] now

claims, is a ‘telling indication’” that the authority does not exist) (citation omitted);

Seila Law, 140 S. Ct. at 2201 (same); Free Enter. Fund v. Pub. Co. Accounting

Oversight Bd., 561 U.S. 477, 505 (2010) (same). “The constitutional practice ...

tends to negate the existence of the … power asserted here.” Printz v. United States,

521 U.S. 898, 918 (1997).

             6.     Analogous immunity doctrines support criminal immunity.

      Immunity doctrines rooted in the separation of powers also support a finding

of criminal immunity here.

      Legislative     immunity.         Legislative    immunity      encompasses      the

“privilege … to be free from arrest or civil process” for legislative acts, i.e., criminal



https://www.theguardian.com/world/2014/jun/23/us-justification-drone-killing-
american-citizen-awlaki.
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and civil proceedings alike. Tenney, 341 U.S. at 372. Such immunity enables

officials “to execute the functions of their office without fear of prosecutions, civil

or criminal.” Id. at 373–74 (quoting Coffin v. Coffin, 4 Mass. 1, 27 (Mass. 1808)).

       Thus, legislative immunity “prevent[s]” legislative acts “from being made the

basis of a criminal charge against a member of Congress.” Johnson, 383 U.S. at

180. A legislative act “may not be made the basis for a civil or criminal judgment

against a Member [of Congress] because that conduct is within the sphere of

legitimate legislative activity.” Gravel v. United States, 408 U.S. 606, 624 (1972)

(emphasis added).     Speech and Debate immunity “protects Members against

prosecutions that directly impinge upon or threaten the legislative process.” Id. at

616.

       Judicial immunity. In Spalding v. Vilas, the Supreme Court stated that the

doctrine of judicial immunity extends to both “civil suit” and “indictment”: “‘The

doctrine which holds a judge exempt from a civil suit or indictment for any act done

or omitted to be done by him, sitting as judge, has a deep root in the common law.

It is to be found in the earliest judicial records, and it has been steadily maintained

by an undisputed current of decisions in the English courts, amidst every change of

policy, and through every revolution of their government.’” 161 U.S. at 494 (quoting

Yates v. Lansing, 5 Johns. 282, 291 (N.Y. 1810) (Kent, C. J.)); see also Ex parte




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Virginia, 100 U.S. 339, 348–49 (1879) (upholding the indictment of a judge on the

ground that the actions charged were not “judicial acts”).

      Like legislative immunity, this doctrine is rooted in common law. “[I]t was

held, certainly as early as Edward III.’s reign [1326-1377], that a litigant could not

go behind the record, in order to make a judge civilly or criminally liable for an

abuse of his jurisdiction.” J. Randolph Block, Stump v. Sparkman and the History

of Judicial Immunity, 1980 DUKE L.J. 879, 884 (emphasis added) (quoting 6 W.

HOLDSWORTH, A HISTORY OF ENGLISH LAW 235-36 (2d ed. 1937)). Lord Coke

rejected the “possible subjection” of judges “to criminal prosecution for judicial

acts,” opining that no judge may “be charged … before any other Judge at the suit

of the King.’” Id. at 887 n.39 (quoting 77 Eng. Rep. at 1307) (emphasis added).

      Cases where prosecutors have brought criminal charges against judges for

judicial acts are thus exceedingly rare. In United States v. Chaplin, 54 F. Supp. 926

(S.D. Cal. 1944), involving federal charges against a state judge “acting in his

judicial capacity and within his jurisdiction,” id. at 928, the court upheld absolute

immunity from prosecution for judicial acts:

      The immunity which has clothed judges for a century and a half in our country
      found its genesis in the English common law simultaneously with the
      independence of the judiciary. … To sustain the Government’s contention
      would be to destroy the independence of the judiciary and mark the beginning
      of the end of an independent and fearless judiciary.

Id. at 933-34.

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      Citing Dennis v. Sparks, 449 U.S. 24, 31 (1980), the district court concluded

that there is no judicial immunity from prosecution for judicial acts. J.A.626. This

is incorrect. Dennis involved allegations of bribery, i.e., that “an official act of the

defendant judge was the product of a corrupt conspiracy involving bribery of the

judge.” Dennis, 449 U.S. at 28. But at common law, judicial bribe-taking (or bribe-

extorting) was not treated as a judicial act and was prosecutable. See Perrin v.

United States, 444 U.S. 37, 43 (1979) (“By the time of Blackstone, bribery was

defined as an offense involving a judge or ‘other person concerned in the

administration of justice’ and included the giver as well as the receiver of the bribe.”)

(emphasis added).

             7.     Policy rooted in the separation of powers supports immunity.

      In considering Presidential immunity, the Supreme Court “has weighed

concerns of public policy, especially as illuminated by our history and the structure

of our government.” Fitzgerald, 457 U.S. at 747–48.

      Especially sensitive duties.       First, the Supreme Court emphasizes the

necessity of robust immunity for officials who have “especially sensitive duties,”

such as prosecutors and judges. Fitzgerald, 457 U.S. at 746. No one exercises more

sensitive duties than the President: “Under the Constitution and laws of the United

States the President has discretionary responsibilities in a broad variety of areas,

many of them highly sensitive.” Id. at 756.

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        Bold and unhesitating action. Second, the Supreme Court reasons that

immunity is most appropriate for officials from whom “bold and unhesitating

action” is required. Id. at 745; see also Imbler v. Pachtman, 424 U.S. 409, 423-24,

427-28 (1976). “[T]o submit all officials, the innocent as well as the guilty, to the

burden of a trial and to the inevitable danger of its outcome would dampen the ardor

of all but the most resolute, or the most irresponsible, in the unflinching discharge

of their duties,” and subject them “to the constant dread of retaliation.” Barr, 360

U.S. at 571–72 (quoting Gregoire v. Biddle, 177 F.2d 579, 581 (2d Cir. 1949) (Hand,

J.)).   Fitzgerald “conclud[ed] that a President … must ‘deal fearlessly and

impartially with the duties of his office’—not be made ‘unduly cautious in the

discharge of [those] duties’ by the prospect of civil liability for official acts.” Vance,

140 S. Ct. at 2426 (citation omitted). The threat of criminal prosecution poses a

greater risk of deterring bold and unhesitating action.

        Crippling and deterring executive action. The Supreme Court emphasizes

the concern that, “[i]n exercising the functions of his office, the head of an Executive

Department, keeping within the limits of his authority, should not be under an

apprehension that the motives that control his official conduct may, at any time,

become the subject of inquiry in a civil suit for damages. It would seriously cripple

the proper and effective administration of public affairs as entrusted to the executive

branch of the government, if he were subjected to any such restraint.” Fitzgerald,

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457 U.S. at 745 (quoting Spalding, 161 U.S. at 498) (emphasis added); see also Barr,

360 U.S. at 573 (holding that official immunity is “designed to aid in the effective

functioning of government”). “Frequently acting under serious constraints of time

and even information,” a President makes many important decisions, and

“[d]efending these decisions, often years after they were made, could impose unique

and intolerable burdens … .” Imbler, 424 U.S. at 425–26; see also Barr, 360 U.S.

at 571. The President’s “focus should not be blurred by even the subconscious

knowledge” of the risk of future prosecution. Imbler, 424 U.S. at 427. And “[t]here

is no question that a criminal prosecution holds far greater potential for distracting a

President and diminishing his ability to carry out his responsibilities than does the

average civil suit.” Vance, 140 S. Ct. at 2452 (Alito, J., dissenting).

      Harassed by vexatious actions. Another key justification for immunity for

officials is to “prevent them being harassed by vexatious actions.”           Spalding,

161 U.S. at 495 (quotation omitted). In Imbler, the Supreme Court held that the

common-law immunity of prosecutors rests on the “concern that harassment by

unfounded litigation would cause a deflection of the prosecutor’s energies from his

public duties, and the possibility that he would shade his decisions instead of

exercising the independence of judgment required by his public trust.” 424 U.S. at

423; see also Butz v. Economou, 438 U.S. 478, 512 (1978). The President is most

likely to draw politically motivated ire. See Cheney v. U.S. Dist. Ct. for D.C., 542

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U.S. 367, 369 (2004) (recognizing “the paramount necessity of protecting the

Executive Branch from vexatious litigation that might distract it from the energetic

performance of its constitutional duties.”).

      For each of these policy considerations, the case is even stronger when the

President is faced with the prospect of criminal prosecution, which has a far greater

deterrent effect on bold and fearless action than civil liability or a subpoena to

produce documents.       “The President’s unique status under the Constitution

distinguishes him from other executive officials.” Fitzgerald, 457 U.S. at 750.

Thus, “the singular importance of the President’s duties” entails that “diversion of

his energies by concern with” criminal prosecution “would raise unique risks to the

effective functioning of government.” Id. at 751. “[A] President must concern

himself with matters likely to ‘arouse the most intense feelings.’” Id. at 752 (quoting

Pierson v. Ray, 386 U.S. 547, 554 (1967)). “[I]t is in precisely such cases that there

exists the greatest public interest in providing an official ‘the maximum ability to

deal fearlessly and impartially with’ the duties of his office.” Id. (quoting Ferri v.

Ackerman, 444 U.S. 193, 203 (1979)). “This concern is compelling where the

officeholder must make the most sensitive and far-reaching decisions entrusted to

any official under our constitutional system.” Id.

      “Nor can the sheer prominence of the President’s office be ignored.” Id. at

752-53. “In view of the visibility of his office and the effect of his actions on

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countless people, the President would be an easily identifiable target for” criminal

prosecution by a politically motivated successor, as well as hundreds of prosecutors

across the country. Id. at 753. “Cognizance of this personal vulnerability frequently

could distract a President from his public duties, to the detriment of not only the

President and his office but also the Nation that the Presidency was designed to

serve.” Id.

      B.      The District Court’s Contrary Reasoning Is Not Convincing.

      The district court disagreed with this analysis, J.A.604-29, but its reasoning is

not convincing. As noted above, the district court simply failed to address many of

President Trump’s principal arguments. Furthermore, its own analysis erred.

      First, the district court emphasized that “[n]o court … has ever accepted”

presidential immunity from criminal prosecution for official acts. J.A.604. But no

court has ever addressed the question. As noted above, the 234-year tradition of not

prosecuting Presidents for their official acts implies that the power does not exist.

NFIB, 595 U.S. at 119; Seila Law, 140 S. Ct. at 2201; Free Enter. Fund, 561 U.S. at

505; Printz, 521 U.S. at 918.

      The district court reasoned that the absence of an express provision in the

Constitution granting the President official immunity implies that no such immunity

exists. J.A.604-06. However, this reasoning would mean that the President has no

immunity from civil suits as well, which contradicts strong Supreme Court

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precedent. Fitzgerald, 457 U.S. at 747-49. Fitzgerald upheld absolute presidential

immunity from civil liability for official acts “in the absence of explicit

constitutional … guidance.” Id. at 747. Moreover, the district court’s logic would

invalidate other well-established immunity doctrines not explicitly spelled out in the

Constitution. See id. at 751-55.

      Next, the district court cited Alexander Hamilton’s statement in The Federalist

No. 69 that there is a “total dissimilitude” between the President and the British

monarch. J.A.605. However, the district court ignored the fact that, in the same

essay, Hamilton wrote that a President could be prosecuted only after he was

impeached and convicted by the U.S. Senate: “The President of the United States

would be liable to be impeached, tried, and, upon conviction of treason, bribery, or

other high crimes or misdemeanors, removed from office; and would afterwards be

liable to prosecution and punishment in the ordinary course of law.”             THE

FEDERALIST NO. 69 (emphasis added).

      The district court held that original sources “universally affirmed the crucial

distinction that the President would at some point be subject to criminal process.”

J.A.606. That observation—and those sources—are fully consistent with President

Trump’s position. A former President is “subject to criminal process” for his

“unofficial conduct,” Clinton, 520 U.S. at 694; and he is subject to criminal

prosecution for official acts for which he has been impeached and convicted by the

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Senate, U.S. CONST. art. I, § 3, cl. 7. Both depart from the British monarch’s

exceptionless immunity. The district court’s suggestion that presidential immunity

provides a “‘get-out-of-jail-free’ pass” and establishes the “divine right of kings” is

historically and legally inaccurate. J.A.604, 628.

      The district court relies heavily on a 2000 OLC opinion, and the 1973 OLC

Memo and SG Brief that it discusses in detail, addressing whether a sitting President

enjoys complete immunity from indictment, prosecution, and imprisonment from

any criminal charges—whether for private conduct or official acts—while he is still

in office. A Sitting President’s Amenability to Indictment and Criminal Prosecution,

24 U.S. Op. Off. Legal Counsel 222, 2000 WL 33711291 (2000) (“OLC Memo”)

(cited in J.A.604-05, 608-10, 613, 620, 624). The district court contends that the

OLC Memo “expressly and repeatedly concluded that a former President may ‘be

subject to criminal process … after he leaves office or is removed therefrom through

the impeachment process.’” J.A.624 (quoting the OLC Memo, which cites and

discusses in detail Amenability of the President, Vice President and Other Civil

Officers to Federal Criminal Prosecution While in Office (1973)).

      The district court misapprehends both the historical and legal context of those

analyses. In 1973 and 2000, questions arose about whether a sitting President might

be criminally charged for acts that included private conduct—i.e., President Nixon’s




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alleged involvement in a range of potentially criminal private conduct,4 and

President Clinton’s alleged perjury and obstruction of justice in a private lawsuit

based on “unofficial conduct.” Clinton, 520 U.S. at 694. Relatedly, the legal issue

addressed—as the memo’s title proclaims—was whether a sitting President enjoys

complete immunity from any kind of criminal indictment, prosecution, trial, or

punishment, even for private crimes. 2000 WL 33711291, at *1. The question

whether a sitting President has complete immunity from criminal process—even for

private acts committed “before, during, and after” his time in office, id. at *12—is

distinct from the question whether a current or former President enjoys absolute

immunity from prosecution “based upon his official acts.” Fitzgerald, 457 U.S. at

744 (emphasis added).

      Given their historic and legal context, it is unsurprising that OLC’s analyses

conclude that the immunity for a “sitting” President terminates when he leaves

office. “Recognizing an immunity from prosecution for a sitting President would

not preclude such prosecution once the President’s term is over or he is otherwise

removed from office by resignation or impeachment.” OLC Memo at *26; see also

id. at *12 (“[T]he constitutional structure permits a sitting President to be subject to


4
 See, e.g., The Legal Aftermath: Citizen Nixon and the Law, Time (Aug. 19, 1974),
at       https://content.time.com/time/subscriber/article/0,33009,942980-2,00.html
(noting that, upon leaving office, President Nixon faced possible criminal charges
for “subornation of perjury, tax fraud, misprision of a felony, [and] misuse of
Government funds for his private home”) (“Legal Aftermath”).
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criminal process only after he leaves office or is removed therefrom through the

impeachment process.”). This statement is correct, provided there is no other bar to

such prosecution—such as official-act immunity, which the OLC analyses do not

address, and which applies here.

      Thus, when the district court cites the OLC Memo to analyze the burdens on

a sitting President from a criminal prosecution, it analyzes the wrong question.

J.A.613 (citing OLC Memo, at *19). Naturally, the OLC Memo focuses on the

burdens that apply to a still-sitting President, since it addresses “[a] sitting

president’s amenability” to criminal process. 2000 WL 33711291, at *19; id. at *1.

And naturally, some of those unique burdens do not apply to a former President.

      Moreover, to the extent that it addresses a related issue, the OLC Memo’s

reasoning strongly supports President Trump here. It emphasizes that impeachment,

not criminal prosecution, provides the structural check on a President’s alleged

misfeasance in office. Id. at *6, 7, 8, 21. The Memo recognizes that “a criminal

proceeding against the President is … necessarily political,” and thus “it would be

‘incongruous’ for a ‘jury of twelve’ to undertake the ‘unavoidably political’ task of

rendering judgment in a criminal proceeding against the President.” Id. at *7. It

emphasizes that immunity does not render “the President … above the law,” because

“the President occupies a unique position within our constitutional order.” Id. at

*12. The Memo supports the view that the threat of future criminal prosecution

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imposes a far greater, not lesser, deterrent to a President’s bold and fearless action

while in office. See id. at *22-23.

      The district court argues that President Trump’s reading of the Impeachment

Judgment Clause “proves too much” because the Clause applies to lower-level

officers who are generally subject to criminal prosecution before leaving office.

J.A.610. But the OLC Memo undercuts this view by emphasizing that the Founders

envisioned that the President would be treated differently under the Clause because

of the unique status of his office. 2000 WL 33711291, at *9 (“[T]he discussion of

the Impeachment Judgment Clause in the convention focused almost exclusively on

the Office of the President, and ‘the Framers did not debate the question whether

impeachment generally must precede indictment.’”); id. at *10 (“To the extent that

the convention did debate the timing of impeachment relative to indictment … , the

convention records show that the Framers contemplated that this sequence should

be mandatory only as to the President. Moreover, the remarks contained in those

records ‘strongly suggest an understanding that the President, as Chief Executive,

would not be subject to the ordinary criminal process.’”) (emphasis added)

(quotations omitted). Likewise, the Supreme Court has “long recognized that the

scope of Presidential immunity from judicial process differs significantly from that

of Cabinet or inferior officers.” Franklin, 505 U.S. at 826 (Scalia, J., concurring in

part and concurring in the judgment) (citing cases).

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      The district court argues that criminal immunity would produce “implausibly

perverse results” because it might allow some Presidents to escape punishment for

official-act crimes in marginal cases. J.A.610-11. The OLC Memo addresses very

similar concerns about potential underenforcement and concludes that those

concerns do not outweigh the needs of the President’s unique office and functions.

OLC Memo, 2000 WL 33711291, at *26-27.               The Constitution establishes a

powerful structural check to prevent political factions from abusing the formidable

threat of criminal prosecution to disable the President and attack their political

enemies. Under the Constitution’s balanced, structural approach, a President may

be prosecuted, but only if he is first impeached, tried, and convicted by the U.S.

Senate. U.S. CONST. art. I, § 3, cl. 7. The Constitution opens the door to such

prosecutions, but requires a strong political consensus—i.e., the participation of the

political branches, including a supermajority of the U.S. Senate, the Republic’s

traditional “cooling saucer”—before such a drastic action can be taken. See id.

Accordingly, the Supreme Court has repeatedly emphasized that impeachment, not

prosecution, provides the principal check and deterrent to a President’s malfeasance

in his official acts. Clinton, 520 U.S. at 696; Fitzgerald, 457 U.S. at 757.

      The mere possibility of under-enforcement in marginal cases does not “license

a President’s criminal impunity,” J.A.611, nor cast doubt on this system of checks

and balances. Every structural protection in the Constitution necessarily creates the

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possibility of under-enforcement—that is a feature, not a bug, of the separation of

powers. “While the separation of powers may prevent us from righting every wrong,

it does so in order to ensure that we do not lose liberty.” Morrison v. Olson, 487

U.S. 654, 710 (1988) (Scalia, J., dissenting); see also INS v. Chadha, 462 U.S. 919,

944 (1983) (“[T]he fact that a given law or procedure is efficient, convenient, and

useful in facilitating functions of government, standing alone, will not save it if it is

contrary to the Constitution.”).

        The district court reasoned that “the Supreme Court has largely rejected

similar claims of a ‘chilling effect’ from the possibility of future criminal

proceedings.” J.A.614 (citing United States v. Nixon, 418 U.S. 683, 712 (1974)); see

also J.A.618-19. But Nixon addressed a far less direct threat to the Presidency—i.e.,

the threat that aides might be deterred from giving candid advice by the prospect that

their communications might someday be subject to a criminal subpoena. See 418

U.S. at 686. That bears no resemblance to the threat of personal criminal indictment,

prosecution, and imprisonment directly against the President himself for his official

acts.

        Next, the district court offered that criminal immunity is unnecessary because

Presidents should just not commit federal crimes. J.A.615; see J.A.616 (“Every

President will face difficult decisions; whether to intentionally commit a federal

crime should not be one of them.”). The Founders, by contrast, correctly anticipated

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the risk of manipulation of vaguely defined “crimes” by political factions. James

Madison, for example, explained the provision of a specific definition of “Treason”

in Article III, § 3, clause 1, by stating that it was devised to prevent political factions

from devising “new fangled and artificial treasons, [which] have been the great

engines, by which violent factions, the natural offspring of free governments, have

usually wreaked their alternate malignity on each other.” THE FEDERALIST NO. 47

(Madison) (emphasis added). Then-Attorney General Robert Jackson expounded

the same concern in 1940, emphasizing the sweeping breadth of federal criminal

statutes, and describing therefore “the most dangerous power of the prosecutor” as

the power to “pick[] the man and then search[] the law books … to pin some offense

on him.” R. Jackson, The Federal Prosecutor, Address Delivered at the Second

Annual Conference of United States Attorneys (April 1, 1940) (quoted in Morrison,

487 U.S. at 728 (Scalia, J., dissenting)). The instant indictment of President

Trump—which dramatically stretches the language of vague criminal statutes in

novel interpretations in an attempt to criminalize core political speech and advocacy,

J.A.443-454, 575-583—vividly illustrates these predictions. See McDonnell v.

United States, 579 U.S. 550, 575 (2016).

      The district court incorrectly discounted the risk of future prosecutions, stating

that “[d]espite Defendant’s doomsaying, he points to no evidence that his criminal

liability in this case will open the gates to a waiting flood of future federal

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prosecutions.”   J.A.617.   Yet the recent history of presidential impeachment

contradicts the district court. In the 209 years from 1789 to 1998, there was one

impeachment of a President—Andrew Johnson in 1868. In the last 25 years, there

have been three, with a fourth currently under consideration by the House of

Representatives. In just over two decades, Presidential impeachment changed from

virtually unthinkable to a fixture of interbranch politics. And impeachment faces

formidable structural checks—it must be voted by a majority of the House, with a

supermajority of the Senate required to convict. Criminal prosecution, by contrast,

requires only a single enterprising prosecutor and a compliant grand jury drawn from

a tiny sector of America.

      The district court then pointed to the “robust procedural safeguards attendant

to federal criminal prosecutions.” J.A.617-18. Again, the OLC Memo contradicts

this analysis, by emphasizing the inherent, highly politicized nature of any

prosecution of a former President. It recognizes that “a criminal proceeding against

the President is … necessarily political,” and thus “it would be ‘incongruous’ for a

‘jury of twelve’ to undertake the ‘unavoidably political’ task of rendering judgment

in a criminal proceeding against the President.” 2000 WL 33711291 at *7. The

district court emphasized that “the prosecutor, judge, and all twelve petit jurors

[must] agree that the charges are legitimate and have been proven beyond a

reasonable doubt.” J.A.618. But the OLC Memo emphasizes the inappropriateness

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of having a jury sit in judgment over a President. 2000 WL 33711291, at *7-8. So,

too, does the Supreme Court. Martin, 25 U.S. at 32-33; cf. Tenney, 341 U.S. at 377;

see also Kavanaugh, supra, at 2159 (arguing that the “repercussions” of criminal

proceedings against a President “if they are to occur, should not result from the

judgment of a single prosecutor—whether it be the Attorney General or special

counsel—and a single jury”).        “Prosecution or nonprosecution of a President

is … inevitably and unavoidably a political act.” Kavanaugh, supra, at 2159.

      The district court reasoned that criminal immunity is unnecessary because

“the violations require criminal intent.” J.A.615. The Supreme Court rejected this

argument in Fitzgerald. The dissent argued that civil immunity was unnecessary

because, under Harlow v. Fitzgerald, 457 U.S. 800 (1982), “the President, were he

subject to civil liability, could be held liable only for an action that he knew, or as an

objective matter should have known, was illegal and a clear abuse of his authority

and power.” 457 U.S. at 782 (White, J., dissenting). The majority, however, rejected

this argument and adopted the rule of absolute presidential immunity.

      The district court emphasized the strong public interest in criminal

proceedings. J.A.618-19. But when it comes to the prosecution of a President, the

Constitution strikes a balance that gives “grave weight” to those interests. Id. It

allows a President to be prosecuted for purely private acts, and even for official acts




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for which he has been impeached and convicted by the Senate. The district court

had no warrant to re-balance what the Constitution has already balanced.

      The district court argues that “[d]espite their other vehement disagreements in

Fitzgerald, all nine Justices unanimously endorsed” the denial of criminal immunity

“with respect to former Presidents.” J.A.619. Not so. The majority opinion in

Fitzgerald merely noted that, in United States v. Nixon, “the exercise of jurisdiction

[was] held warranted” over the President “to vindicate the public interest in an

ongoing criminal prosecution,” 457 U.S. at 754, and it “recognized … that there is a

lesser public interest in actions for civil damages than, for example, in criminal

prosecutions,” id. at 754 n.37. It did not purport to decide whether absolute

immunity extends to criminal prosecutions for official acts. See id. Chief Justice

Burger’s concurrence, likewise, merely recognized that the Court was not addressing

or deciding whether absolute immunity extended beyond civil liability. Id. at 759.

Moreover, Justice White’s dissent contended that the majority’s reasoning strongly

supports criminal immunity—the same argument that President Trump makes here.

See id. at 765, 780 (White, J., dissenting).

      Regarding the prospect of criminal prosecutions from approximately 2,300

local prosecutors, the district court suggests that such prosecutions “might run afoul

of the Supremacy Clause,” and thus they could be defended on that ground on a case-

by-case basis. J.A.616 (emphasis added) (citing Vance, 140 S. Ct. at 2428). This is

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true, but insufficient. The OLC Memo rejects similar reasoning: “[A] categorical

rule against indictment or criminal prosecution is most consistent with the

constitutional structure, rather than a doctrinal test that would require the court to

assess whether a particular criminal proceeding is likely to impose serious burdens

upon the President.” 2000 WL 33711291 at *25 (emphasis added).

      The district court emphasized the “distinctly communal character” of criminal

law. J.A.620. This overlooks the national “communal character” of the Presidency.

The Presidency “implicate[s] a uniquely important national interest, because the

President and the Vice President of the United States are the only elected officials

who represent all the voters in the Nation.” Anderson v. Celebrezze, 460 U.S. 780,

794–95 (1983). The President constitutes “a single head in whose choice the whole

Nation has a part, making him the focus of public hopes and expectations.”

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 653 (1952) (Jackson, J.

concurring). He is responsible for directing the entire Executive Branch and, in the

field of foreign affairs, is “the sole organ of the federal government ... .” United

States v. Curtiss-Wright Export Corp., 299 U.S. 304, 320 (1936). This nationwide

interest in the Presidency makes it particularly inappropriate for a jury drawn from

a local “commun[ity],” J.A.620, to sit in judgment over the President’s official acts.

      The district court argued that “Congress has spoken by criminalizing the

conduct with which the Defendant is charged,” and that this puts the President’s

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power “at its lowest ebb.” J.A.621 (quoting Youngstown, 343 U.S. at 637 (Jackson,

J., concurring)). But Youngstown addressed the availability of injunctive relief

against inferior executive officers—not prosecuting the President for official acts.

See Franklin, 505 U.S. at 828 (Scalia, J., concurring in part and concurring in the

judgment) (citing Youngstown for this point). When it comes to the far different—

and more intrusive—prospect of Congress purporting to criminalize a President’s

official acts, and the Judicial Branch purporting to convict and imprison him for

them, separation-of-powers principles weigh heavily in the opposite direction.

“Unless the other branches are to be entirely subordinated to the Judiciary, we cannot

direct the President to take a specified executive act or the Congress to perform

particular legislative duties.” Id. at 829. Nor can the Judicial Branch throw the

President into prison for allegedly failing to do so. U.S. CONST. art. II, § 1.

      The district court cited dicta in O’Shea v. Littleton, 414 U.S. 488, 503 (1974),

to argue that no judge-created immunity doctrine can trump an act of Congress.

J.A.621. Citing Gravel, 408 U.S. at 627, O’Shea stated that “we have never held

that the performance of the duties of judicial, legislative, or executive officers,

requires or contemplates” criminal immunity, and that “the judicially fashioned

doctrine of official immunity does not reach ‘so far as to immunize criminal conduct

proscribed by an Act of Congress.” Id. The district court interprets this statement

as abolishing all official-immunity doctrines from federal criminal prosecution,

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J.A.621, but so interpreted, this statement is incorrect. As noted above, the Supreme

Court has recognized both legislative and judicial immunity from criminal

prosecution for official acts. Gravel does not call these precedents into doubt—it

addressed the existence of a “nonconstitutional testimonial privilege” arising from

the Speech and Debate Clause, not the existence of criminal immunity. 408 U.S. at

627. In any event, the dicta in both cases appear to make a much narrower claim—

i.e., that some civil-rights statutes might uniquely abrogate absolute judicial

immunity. No such claim is made here.

      Citing United States v. Lee, 106 U.S. 196, 220 (1882), the district court likened

presidential immunity from criminal prosecution to the “divine right of kings,” and

held that “‘[n]o man in this country,’ not even the former President, ‘is so high that

he is above the law.’” J.A.628; see also J.A.622. But in Butz—also citing Lee—the

Court rejected the same reasoning and held that absolute immunity does not render

an official “above the law.” 438 U.S. at 506. Quoting Lee’s statement that “no man

… is above the law,” Butz held that this principle is consistent with the recognition

of absolute immunity where, as here, history and public policy warrant immunity.

“In light of this principle,” Butz held, “federal officials who seek absolute exemption

from personal liability for unconstitutional conduct must bear the burden of showing

that public policy requires an exemption of that scope.” Id. Butz then stated that

absolute immunity applies in “those exceptional situations where it is demonstrated

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that absolute immunity is essential for the conduct of the public business.” Id. at

507. The Presidency, of course, presents the most “essential” of all cases. Id.; see

also Fitzgerald, 457 U.S. at 750 (citing Butz and holding that “[t]he President’s

unique status under the Constitution distinguishes him from other executive

officials”).   Likewise, the district court’s reasoning overlooks that, under the

Impeachment Judgment Clause, a former President is subject to prosecution for

official acts—provided that he is first impeached and convicted by the political

branches.

       Citing the OLC analyses, the district court argued that the Executive Branch

has rejected the President’s absolute immunity from prosecution. J.A.624-25. Not

so. The OLC analyses address whether the President is immune from any criminal

process—even for purely private crimes, committed at any time—while he is still in

office. They do not analyze the President’s criminal immunity “based upon his

official acts.” Fitzgerald, 457 U.S. at 744 (emphasis added). The OLC memos’

reasoning supports the recognition of such immunity. See supra.

       The district court relied on President Ford’s prophylactic pardon of President

Nixon. J.A.625. The district court draws exactly the wrong conclusion. President

Ford’s issuance of a prophylactic pardon to prevent a potentially bitter, protracted,

divisive prosecution of a former President, J.A.625, reinforces the political and

constitutional tradition against prosecuting Presidents—it does not undermine it. In

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any event, the allegations against President Nixon included alleged crimes in private

conduct, see Legal Aftermath, supra, so the pardon provides no counterexample to

official-act immunity.

      C.     The Conduct Alleged in the Indictment Falls Within the Scope of
             President Trump’s Official Responsibilities.

      Because the district court held that criminal immunity does not exist, it did

not address whether the five types of conduct charged in the indictment fall within

the outer perimeter of the President’s official duties. J.A.628-29. After upholding

criminal immunity, the Court should remand for the district court to consider these

questions in the first instance. See Blassingame, 87 F.4th at 29. If the Court reaches

these questions, to avoid duplicative briefing, President Trump incorporates by

reference his briefing in the trial court, J.A.357-81; J.A.487-93.

      Given the existence of criminal immunity, the scope of immunity should

extend at least as far as civil immunity, i.e., to the “‘outer perimeter’ of [the

President’s] official responsibility.” Fitzgerald, 457 U.S. at 756; J.A.357-59. The

test is broad. “When an appropriately objective, context-specific assessment yields

no sufficiently clear answer in either direction, the President … should be afforded

immunity.” Blassingame, 87 F.4th at 21.

      In assessing whether immunity applies to Presidential conduct, courts must

look to the “nature of the act itself,” Stump v. Sparkman, 435 U.S. 349, 362 (1978)—

not to its allegedly unlawful manner or purpose. Fitzgerald, 457 U.S. at 756;
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Bradley v. Fisher, 80 U.S. 335, 354 (1871); Spalding, 161 U.S. at 494, 498; Pierson,

386 U.S. at 554; Barr, 360 U.S. at 575; Gregoire, 177 F.2d at 581 (Hand, J.);

Blassingame, 87 F.4th at 20-21; see also J.A.359-62 (citing many cases).

      Further, for a President’s official acts, “there is not always a clear line between

his personal and official affairs,” so many acts may have a dual character. Trump v.

Mazars USA, LLP, 140 S. Ct. 2019, 2034 (2020); see also Blassingame, 87 F.4th at

20-21.

      Under these standards, all five types of conduct alleged in the indictment

constitute official acts. They all reflect President Trump’s efforts and duties,

squarely as Chief Executive of the United States, to advocate for and defend the

integrity of the federal election, in accord with his view that it was tainted by fraud

and irregularity.

      First, President Trump’s public statements and tweets about alleged fraud and

irregularity in the federal election fall within the outer perimeter of Presidential duty,

to which communicating with the public on matters of federal concern is absolutely

central. See Trump v. Hawaii, 138 S. Ct. 2392, 2417-18 (2018); Barr, 360 U.S. at

568, 574-75; JEFFREY K. TULIS, THE RHETORICAL PRESIDENCY 4 (2017); see also

Pleasant Grove City v. Summum, 555 U.S. 460, 467-68 (2009); J.A.364-69. This is

especially apparent with respect to President Trump’s tweets; his Twitter account has

been held to be an official government channel of communication based on

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“overwhelming” evidence. Knight First Amend. Inst. at Columbia Univ. v. Trump,

928 F.3d 226, 236 (2d Cir. 2019), judgment vacated as moot, 141 S. Ct. 1220 (2021).

President Trump’s other public statements are also plainly official. Cf. Blassingame,

87 F.4th at 30 (directing further factfinding to determine whether some statements,

also alleged in the indictment here, are official acts).

      Second, President Trump’s communications with the U.S. Department of

Justice about investigating widespread reports of election fraud, and deliberating

about replacing the Acting Attorney General, are quintessential Presidential acts.

The President shall “take Care that the Laws be faithfully executed,” U.S. CONST.

art. II, § 3, which include the numerous prohibitions on federal election crime. See,

e.g., 18 U.S.C. §§ 241, 242, 611, 911, 1015(f); 52 U.S.C. §§ 10307(c), 10307(e),

20511(1), 20511(2)(A), 20511(2)(B), 30120, 30124; see also U.S. Dep’t of Justice,

Federal      Prosecution      of     Election      Offenses     (8th      ed.   2017),

https://www.justice.gov/criminal/file/1029066/download. Directing the Attorney

General to enforce these falls squarely within the Take Care power. Office & Duties

of Attorney General, 6 U.S. Op. Atty. Gen. 326, 335 (1854); Ponzi v. Fessenden, 258

U.S. 254, 262 (1922). Deliberating about whether to replace a Cabinet-level officer

is a core exercise of the appointment and removal power. U.S. CONST. art. II, § 2,

cl. 2; Myers v. United States, 272 U.S. 52, 122 (1926); see also Prosecution for

Contempt of Congress of an Executive Branch Official Who Has Asserted a Claim

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of Executive Privilege, 8 U.S. Op. O.L.C. 101, 113 (1984) (quoting 1 Annals of

Congress 481 (1789)); In re Sealed Case, 121 F.3d 729, 752–53 (D.C. Cir. 1997)

(deciding to remove the Secretary of Agriculture is a “quintessential and

nondelegable Presidential power”).

      Third, communications with state officials about their exercise of official

duties with respect to a federal election falls within a President’s official duties.

J.A.371-75. The President’s Take Care duty “include[s] the rights, duties, and

obligations growing out of the constitution itself … and all the protection implied by

the nature of the government under the constitution.” Cunningham v. Neagle, 135

U.S. 1, 64 (1890); see also Fitzgerald, 457 U.S. at 756 (adopting a broad view of the

scope of immunity instead of parsing specific presidential “functions”).         This

includes taking steps to ensure the integrity of federal elections, such as

communicating with state officials who play a critical role in administering those

federal elections.   Presidential electors “exercise federal functions under, and

discharge duties in virtue of authority conferred by, the Constitution of the United

States.” Burroughs v. United States, 290 U.S. 534, 545 (1934); see also Celebrezze,

460 U.S. at 794-95; Exec. Order 14019, 86 Fed. Reg. 13623-27; Br. for U.S. as

Amicus Curiae at 12, Blassingame, 87 F.4th at 1 (Nos. 22-5069, 22-7030, 22-7031)

(“Blassingame Amicus Br.”).




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      Fourth, communicating with Members of Congress, including the Vice

President in his capacity as President of the Senate, about their exercise of their

official duties lies at the core of Presidential responsibility. J.A.375-78. The

President has intimate and extensive responsibility in the legislative process. U.S.

CONST. art. I, § 7, cl. 2-3. Article II specifically provides that the President

“recommend to [Congress’s] Consideration such Measures as he shall judge

necessary and expedient.” U.S. CONST. art. II, § 3. This includes the Executive

Branch “mak[ing] its views known to Congress on all matters in which it has

responsibilities, duties, and opinions.” Lobbying by Executive Branch Personnel,

U.S. Op. O.L.C. Supp. 240, 243-45 (1961) (gathering sources); see also id. at 244

(quoting H.R. Rep. No. 81-3138, at 52); see also Clinton Rossiter, The American

Presidency 108 (2d rev. ed. 1960); Blassingame Amicus Br. 11. Historical precedent

from President Grant’s intervention in the disputed Hayes-Tilden election supports

this conclusion. See 28 PAPERS OF ULYSSES S. GRANT 19-20, 75-78, 80–81 (ed. John

Y. Simon 2005), https://scholarsjunction.msstate.edu/usg-volumes/27/.

      Fifth, organizing contingent slates of electors to support the President’s

advocacy to the Vice President and Congress is likewise an official act. J.A.378-81.

The indictment itself alleges that these acts were intertwined with President Trump’s

attempts to lobby the Vice President and Members of Congress. J.A.28-29, 44-45,

55-61. Thus, they fall under the President’s official duties both because those duties

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extend to “the rights, duties, and obligations growing out of the constitution itself”

and “all the protection implied by the nature of the government under the

constitution,” Neagle, 135 U.S. at 64; see also U.S. CONST. art. II, § 1, cl 2;

Burroughs, 290 U.S. at 545, and because they are necessary and preparatory to, and

thus intertwined with, the plainly official acts of communicating with Congress

about the certification of the federal election, see, e.g., Prince v. Hicks, 198 F.3d 607,

612 (6th Cir. 1999); Guzman–Rivera v. Rivera–Cruz, 55 F.3d 26, 29 (1st Cir. 1995).

II.     The Prosecution Is Barred by the Impeachment Judgment Clause and
        Principles of Double Jeopardy.

        Here, President Trump was impeached and acquitted by the Senate for the

same and closely related conduct to that alleged in the indictment. H. RES. 24 (117th

Cong.       1st      Sess.),     https://www.congress.gov/bill/117th-congress/house-

resolution/24/text. The Impeachment Judgment Clause, U.S. CONST. art. I, § 3, cl. 7,

mandates reversal because it incorporates a Double Jeopardy principle: A President

who is acquitted by the Senate cannot be prosecuted for the acquitted conduct.

        That follows from the text of the Clause. It says that “the Party convicted shall

nevertheless be liable and subject to Indictment, Trial, Judgment and Punishment,

according to Law.” Id. (emphasis added). By specifying that “the Party convicted”

is subject to criminal prosecution, the clause “implies” that the Party who is not

convicted is not subject to criminal prosecution. Scalia & Garner, supra, at 107.


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This is a straightforward application of the canon expressio unius est exclusio

alterius.

      To be sure, “[f]inding the negative implication of a” legal writing “is a

context-specific exercise.” Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1069 (D.C.

Cir. 2018). But the context of the Impeachment Judgment Clause strongly supports

the negative implication that a Senate-acquitted President may not be prosecuted.

Indeed, even the OLC memo the district court relied on in discussing Double

Jeopardy, concedes the argument “has some force.” Whether a Former President

May Be Indicted and Tried for the Same Offenses for Which He Was Impeached by

the House and Acquitted by the Senate, 24 Op. O.L.C. 110, 114 (2000) (“Double

Jeopardy Memo”).

      The concession is an understatement. In England, “the House of Lords could

not only remove officials from office and disqualify them from holding office, but

also impose a full range of criminal punishments on impeachment defendants.” Id.

at 126. The Impeachment Judgment Clause altered that by limiting the punishments

the Senate could impose to just removal and disqualification and then creating an

exception to Double Jeopardy by saying a convicted officer could be criminally

prosecuted. See id. at 126–27; see also U.S. CONST., art. I, § 3, cl. 7. But nothing

indicates it altered the criminal nature of the impeachment process. To the contrary,




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the second proviso in the Clause is unnecessary if impeachment and conviction have

no jeopardy implications.

      That reading is to be avoided. See, e.g., Freeman v. Quicken Loans, Inc., 566

U.S. 624, 635 (2012) (surplusage canon). Since the Clause references only “the

Party Convicted,” the usual rules of Double Jeopardy apply to acquittals—they

“bar . . . a subsequent prosecution for the same offense.” Ball v. United States, 163

U.S. 662, 671 (1896). Indeed, OLC admits this reading is reasonable. See Double

Jeopardy Memo, 24 Op. O.L.C. at 116–18.

      Justice Story certainly found it persuasive. In the section of the Commentaries

cited by both the district court and OLC, see J.A.641; 24 Op. O.L.C., at 125–26, he

notes that under the British system, where the House of Lords could “pronounce a

full and complete sentence,” an acquittal would bar further prosecution. 3 Story,

supra, § 780.    But under the constitutional structure, where impeachment and

conviction result in removal and disqualification, Story recognized “that provision

should be made” authorizing additional prosecution, or else there would be “extreme

doubt, whether ... a second trial for the same offence could be had, either after an

acquittal, or a conviction . . . .”   Id.   The only provision for future criminal

prosecution in the Impeachment Judgment Clause is for “the Party convicted . . . .”

U.S. CONST., art. I, § 3, cl. 7. OLC, to be sure, said that Justice Story believed the

Impeachment Judgment Clause “removed any doubt about a double jeopardy bar in

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the case of Senate acquittals ... .” Double Jeopardy Memo, 24 Op. O.L.C. at 126.

There is no analysis behind that statement, which makes sense because the assertion

is baseless. The express reference to prosecution after conviction does not make

“provision”—to borrow from Justice Story—for prosecution after acquittal. The

opposite is true.

      The district court pointed to a 1973 OLC memorandum, J.A.607-08; but OLC

subsequently conceded that its 1973 memorandum missed the complexity of “the

relationship between [the Impeachment Judgment Clause] and double jeopardy

principles,” OLC Memo, 24 Op. O.L.C. at 224 n.5. To be sure, OLC adheres to the

1973 memo’s decision, see id., but its reasoning is unconvincing. It rests on the

assumption that “the framers and ratifiers most heavily relied” on “formulations of ”

Double Jeopardy that “restricted its reach to cases where the defendant’s life was at

stake,” 24 Op. O.L.C. at 127.

      But if that is what the Founders believed, there was no reason to say a

convicted officer could be prosecuted; Double Jeopardy would be out of the picture.

It also assumes that the Founders departed from the British model explicitly in one

way (by limiting the punishments the Senate could impose) but implicitly in another

way (by not treating impeachments like a criminal proceeding). That is highly

unlikely. Indeed, OLC acknowledged that State constitutions typically say if they

intend an impeachment acquittal to result in further prosecution. Id. at 115. That

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includes State constitutions at the time of the Founding. See id. at 116 (mentioning

Pennsylvania’s 1790 charter). And New York’s constitution, which “contained

language strikingly similar to that” in the U.S. Constitution, and “was amended [in

1846] to refer to ‘the party impeached’ rather than ‘the party convicted’ precisely

because of a concern that the latter phrase might be understood to give immunity

from criminal prosecution to those who had been impeached and acquitted.” Id. at

116; see id. at 116 n.12.

      Likewise, “[t]he Framers . . . appeared to anticipate that a President who

commits serious wrongdoing should be impeached by the House and removed from

office by the Senate—and then prosecuted thereafter.” Kavanaugh, supra, at 2158.5

Hamilton thrice said criminal prosecution can only follow impeachment and


5
  Many of the quotes the district court and OLC provide are unilluminating. The
letter from Edmund Pendleton to James Madison is an example. See Double
Jeopardy Memo, 24 Op. O.L.C. at 124–25; J.A.640. The statement is made in a
paragraph providing general criticisms about impeachment; it involves other issues
Pendleton had with the Senate; and the letter itself is a list of Pendleton’s thoughts
about the Constitution in private correspondence. See Letter to James Madison from
Edmund               Pendleton,              8              October              1787,
https://founders.archives.gov/documents/Madison/01-17-02-0352. Madison’s reply
is similar. See JA.640. He does not address impeachment, instead focusing on other
points Pendleton made; the most he says is that Pendleton’s remarks are “in general
extremely well founded.” Letter from James Madison to Edmund Pendleton, 28
October 1787, https://founders.archives.gov/documents/Madison/01-10-02-0156.
That is not a ringing endorsement of Pendleton’s letter, much less an endorsement
of any view on whether an acquitted officer can be prosecuted. The Double Jeopardy
Memo references a commentary by St. George Tucker that speculated an acquittal
would not bar further prosecution. 24 Op. O.L.C. at 125. That also has limited
persuasive value, by a similar analysis.
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conviction. See FEDERALIST NO. 65; FEDERALIST NO. 69; FEDERALIST NO. 77.

Indeed, in discussing impeachment in Federalist No. 65 he said, “The punishment

which may be the consequence of conviction upon impeachment, is not to terminate

the chastisement of the offender. After having been sentenced to a perpetual

ostracism from the esteem and confidence, and honors and emoluments of his

country, he will still be liable to prosecution and punishment in the ordinary course

of law.” (Emphases added). The constant linkage of criminal punishment as

following conviction but not impeachment simpliciter is compelling evidence that it

did not follow impeachment acquittal.

      Then there is James Wilson’s statement that “the President … ‘is amenable to

[the laws] in his private character as a citizen, and in his public character by

impeachment.’ ” Clinton, 520 U.S. at 696 (quoting James Wilson in 2 J. ELLIOT,

DEBATES ON THE FEDERAL CONSTITUTION 480 (2d ed. 1863)). Other statements by

Charles Lee, see Marbury, 5 U.S. at 149, and Chief Justice Marshall likewise point

to impeachment as the primary means of addressing presidential malfeasance. To

the same effect is a Gouverneur Morris statement OLC discussed; he said that “ ‘[t]he

Executive ought therefore to be impeachable for treachery; Corrupting his electors,

and incapacity . . . . For the latter he should be punished not as a man, but as an

officer, and punished only by degradation from office.’ ” Double Jeopardy Memo,

24 Op. O.L.C. at 128.

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      Those statements affirm that punishing a President for alleged official

malfeasance has two parts: impeachment and conviction in Congress, which may

then be followed by criminal prosecution.6 It also highlights that the Founders

adapted the British method of impeachment, see, e.g., FEDERALIST NO. 65, but

bifurcated it into a political part, which the Senate controls; and a criminal part,

which belongs to the judiciary, see 3 Story, Commentaries § 784 (making the same

observation). The British impeachment process starts and ends with its legislative

entities. Id. § 742. It stands to reason that the Framers would conclude that Congress

should have the dominant role in impeachment and conviction—with criminal

prosecutions taking a back seat. That is consistent with the emphasis on the political

process of impeachment as the primary form of checking the President, and also with

the Senate’s acquittal having binding effect on future criminal prosecutions.

      The text, context, and history of the Impeachment Judgment Clause thus

confirm that an acquittal bars prosecution for the same or closely related conduct.


6
  The district court notes Wilson said, during the Pennsylvania ratification
convention, that Senators who are impeached but not convicted “may be tried by
their country.” See J.A.640 (quotations omitted); see also Double Jeopardy Memo,
24 Op. O.L.C. at 124. First, this statement is inconsistent with the more considered
views of Hamilton. Second, it was made in the context of discussing impeachment
and conviction of Senators. See Double Jeopardy Memo, 24 Op. O.L.C. 122 n.34.
The more relevant view is his discussion of how impeachment worked for
Presidents, which is discussed here.
       Similarly, the statement of Representative Dana referenced by the district
court and OLC, see id. at 125; J.A.641, involved senatorial impeachment and,
furthermore, were made over a decade after the Constitution’s ratification.
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That leaves the district court’s policy disagreements with the Founders, disguised by

the district court as “structural considerations.” The district court pointed to two:

that “impeachment and prosecution serve distinct goals within the separation of

powers,” and that the Senate “may acquit . . . even when it finds that an official

committed the acts alleged.” J.A.639-40.

      The Double Jeopardy Memo said the first is “perhaps the most fundamental.”

24 Op. O.L.C. at 130. But it and the district court, J.A.640, both missed what the

Founders recognized: That punishment of the President is irreducibly political and

so belongs primarily to the branch most politically accountable—Congress and,

ultimately, the Senate. “The subjects of [impeachment] are those offenses which

proceed from the misconduct of public men ... . They are of a nature which may with

peculiar propriety be denominated POLITICAL, as they relate chiefly to injuries

done immediately to the society itself.” FEDERALIST NO. 65 (Hamilton). “[T]he

Senate [is] the most fit depositary of this important trust.” Id.

      Madison underscores that point. He cautioned against “new fangled and

artificial treasons,” which “have been the great engines, by which violent factions,

the natural offspring of free governments, have usually wreaked their alternate

malignity on each other.” FEDERALIST NO. 47. By requiring widespread political

consensus within the U.S. Senate—the historical “cooling saucer” of the Republic—

before a President can be criminally prosecuted, the Impeachment Judgment Clause

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protects Presidents from “new fangled and artificial treasons.” Id. And contrary to

the district court, J.A.641-42, the Supreme Court has repeatedly affirmed the view

that impeachment is political—and so is the principal, constitutionally prescribed

method to address Presidential malfeasance.         See Clinton, 520 U.S. at 696;

Fitzgerald, 457 U.S. at 757.

      The Impeachment Judgment Clause thus protects Presidents from harassing

criminal prosecutions by requiring Congress first to make the political judgment that

the President should be convicted. If, as here, the Senate acquits the President, the

Senate has necessarily concluded that the President should remain in office and is

not disqualified from service. For a prosecutor to conclude otherwise undermines

that conclusion—indeed, a successful prosecution voids it—and arrogates to himself

a judgment the Constitution reserves for Congress.

                                         ***

      Thus, President Trump’s acquittal by the Senate bars prosecution for the

conduct alleged in the indictment.7 Further, the acquittal reinforces President

Trump’s immunity argument. Where, as here, the question is the amenability of the

President to prosecution for an official act, the political concerns are at their apex.


7
 The district court’s analysis of the Double Jeopardy Clause, J.A.636-38, misses the
point. The preclusive effect here arises from the Impeachment Judgment Clause,
which incorporates Double Jeopardy principles, but not Double Jeopardy tests
wholesale. Cf. Double Jeopardy Memo, 24 Op. O.L.C. at 113–48 (separately
analyzing the two).
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Before any single prosecutor can ask a court to sit in judgment of the President’s

conduct, Congress must have approved of it by impeaching and convicting the

President. That did not happen here, and so President Trump has absolute immunity.

                                  CONCLUSION

      The district court’s Memorandum Opinion and Order, J.A.599, 647, should be

reversed and the case should be remanded with instructions to dismiss the indictment

with prejudice. In the alternative, the Court should uphold criminal immunity and

remand to the district court to apply the doctrine in the first instance. If the Court

affirms the district court in any respect, President Trump respectfully requests that

the Court stay the issuance of its mandate pending further review, including possible

en banc proceedings and/or Supreme Court review.

Dated: December 23, 2023               Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on December 23, 2023, I caused a true and correct copy

of the foregoing to be filed by the Court’s electronic filing system, to be served by

operation of the Court’s electronic filing system on counsel for all parties who have

entered in the case.

                                                                   /s/ D. John Sauer




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